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UNITED STATES DISTRICT COURT                                         CIVIL CONFERENCE
EASTERN DISTRICT OF NEW YORK                                         MINUTE ORDER

BEFORE: STEVEN I. LOCKE                                              DATE: 11/29/2017
        U.S. MAGISTRATE JUDGE                                        TIME: 10:00 am

CASE: CV 13-2789(SIL) Thomas et al v. TXX Services, Inc. et al

TYPE OF CONFERENCE: MOTION/STATUS FTR: 10:14-10:44; 11:03-11:36

APPEARANCES:
     For Plaintiff:    Denise Schulman
                       Daniel Maimon Kirchenbaum


       For Defendant: Jeffrey Pagano
                      Ira Saxe


THE FOLLOWING RULINGS WERE MADE:
☒    Other: Defendants’ motion to dismiss Plaintiffs Popocol and Desnoes, DE [230], from
     this case, or for a court order directing these Plaintiffs to respond to discovery, is granted
     in part and denied as part as follows for the reasons set forth on the record. These
     Plaintiffs will respond to the outstanding discovery requests on or before December 13,
     2017. Plaintiffs are warned that a failure to respond may result in a dismissal of their
     FLSA claims pursuant to Fed. R. Civ. P. 41.

               Defendants’ motion to compel production of tax returns and bank records, DE
       [231], is granted in part and denied in part for the reasons set forth on the record.
       Plaintiffs will produce their tax returns, but not bank statements for all years each
       Plaintiff is making a claim against Defendants. It is the Court’s conclusion that
       Defendants are entitled to explore how each Plaintiff conducted his or her business with
       respect to the applicable statutory factors for the independent contractor analysis under
       both federal and state law and that a stipulation on this point is insufficient. In reaching
       this conclusion the Court relies on Judge Gold’s reasoning as set forth on the record in
       Fernandez v. Kinray, 13-CV-4938 (Oct. 29, 2014), DE [213], the cases cited therein,
       Browning v. Ceva Greight, LLC, 885 F. Supp. 2d 590 (E.D.N.Y. 2012) and Deboissiere
       v. American Modification Agency, 09 CV 2316, 2010 WL 4340642 (E.D.N.Y. Oct. 22,
       2010). Specifically, the Court finds that the tax returns contain relevant information and
       their production are proportional to the needs to the case. The production of the
       underlying bank statements, which Defendants characterize as the “supporting
       documents” to the tax returns are of limited value, especially given that there no basis for
       concluding that the tax returns are inaccurate, and their production is disproportionate to
       the needs of the case. The tax returns will be maintained confidentially and used for the
       purpose of this litigation and no other purpose.
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               Plaintiffs’ motion to compel, DE [229], is granted in part and denied in part for
       the reasons set forth on the record. The contracts at issue will be produced to Plaintiffs’
       counsel only on an attorneys’ eyes only basis. These documents are supplied for
       counsel’s consideration only and before being used further in this litigation the parties
       will meet and confer on their further use, and if an agreement cannot be reached, they
       will contact the Court for a ruling in accordance with the Court’s individual rules.

              Plaintiff’s motion to substitute, DE [205], is granted on consent.

              All documents addressed in this order will be produced (or IRS releases will be
       produced in order to obtain the responsive tax returns) on or before January 31, 2018.


COURT APPEARANCES:
The following conference(s) will be held in courtroom 820 of the Central Islip courthouse:

                              3/28/18 at 10:00 am : Status conference


                                                     SO ORDERED

                                                     /s/Steven I. Locke
                                                     STEVEN I. LOCKE
                                                     United States Magistrate Judge
